Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 1 of 16 Page ID
                                  #:45308
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 2 of 16 Page ID
                                  #:45309
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 3 of 16 Page ID
                                  #:45310
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 4 of 16 Page ID
                                  #:45311
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 5 of 16 Page ID
                                  #:45312
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 6 of 16 Page ID
                                  #:45313
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 7 of 16 Page ID
                                  #:45314
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 8 of 16 Page ID
                                  #:45315
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 9 of 16 Page ID
                                  #:45316
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 10 of 16 Page ID
                                  #:45317
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 11 of 16 Page ID
                                  #:45318
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 12 of 16 Page ID
                                  #:45319
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 13 of 16 Page ID
                                  #:45320
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 14 of 16 Page ID
                                  #:45321
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 15 of 16 Page ID
                                  #:45322
Case 2:04-cv-09049-DOC-RNB Document 2819-16 Filed 03/26/08 Page 16 of 16 Page ID
                                  #:45323
